Case 2:05-cr-20177-SHM   Document 109 Filed 07/18/05   Page 1 of 10   PageID
                                    114
Case 2:05-cr-20177-SHM   Document 109 Filed 07/18/05   Page 2 of 10   PageID
                                    115
Case 2:05-cr-20177-SHM   Document 109 Filed 07/18/05   Page 3 of 10   PageID
                                    116
Case 2:05-cr-20177-SHM   Document 109 Filed 07/18/05   Page 4 of 10   PageID
                                    117
Case 2:05-cr-20177-SHM   Document 109 Filed 07/18/05   Page 5 of 10   PageID
                                    118
Case 2:05-cr-20177-SHM   Document 109 Filed 07/18/05   Page 6 of 10   PageID
                                    119
Case 2:05-cr-20177-SHM   Document 109 Filed 07/18/05   Page 7 of 10   PageID
                                    120
Case 2:05-cr-20177-SHM   Document 109 Filed 07/18/05   Page 8 of 10   PageID
                                    121
Case 2:05-cr-20177-SHM   Document 109 Filed 07/18/05   Page 9 of 10   PageID
                                    122
Case 2:05-cr-20177-SHM   Document 109 Filed 07/18/05   Page 10 of 10   PageID
                                    123
